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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:18-CR-066-2 TLN
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   ROCKY GORDON,                                       DATE: September 20, 2018
                                                         TIME: 9:30 a.m.
15                                Defendant.             COURT: Hon. Troy L. Nunley
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for status on September 20, 2018.

21          2.      By this stipulation, defendant now moves to continue the status conference until

22 September 27, 2018, at 9:30 a.m., to convert that appearance to a Change of Plea hearing, and to exclude

23 time between September 20, 2018, and September 27, 2018, under Local Code T4.

24          3.      The parties agree and stipulate, and request that the Court find the following:

25                  a)     The government has represented that the discovery associated with this case

26          includes 8,940 Bates stamped items including reports, photographs, and recordings. All of this

27          discovery has been either produced directly to counsel and/or made available for inspection and

28          copying.


      STIPULATION REGARDING EXCLUDABLE TIME              1
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 1                  b)     Counsel for defendant has a scheduling conflict on September 20, 2018, that

 2          requires him to attend California state court proceedings on the same morning. Additionally,

 3          counsel for defendant desires additional time to consult with his client and consider legal options

 4          in advance of September 27, 2018. The results of these conversations will determine whether the

 5          defendant chooses to change his plea on September 27, 2018.

 6                  c)     Counsel for defendant believes that failure to grant the above-requested

 7          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 8          into account the exercise of due diligence.

 9                  d)     The government does not object to the continuance.

10                  e)     Based on the above-stated findings, the ends of justice served by continuing the

11          case as requested outweigh the interest of the public and the defendant in a trial within the

12          original date prescribed by the Speedy Trial Act.

13                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14          et seq., within which trial must commence, the time period of September 20, 2018 to September

15          27, 2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

16          Code T4] because it results from a continuance granted by the Court at defendant’s request on

17          the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

18          best interest of the public and the defendant in a speedy trial.

19          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

20 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

21 must commence.

22          IT IS SO STIPULATED.

23

24
      Dated: September 10, 2018                               MCGREGOR W. SCOTT
25                                                            United States Attorney
26
                                                              /s/ AMANDA BECK
27                                                            AMANDA BECK
                                                              Assistant United States Attorney
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      STIPULATION REGARDING EXCLUDABLE TIME               2
      PERIODS UNDER SPEEDY TRIAL ACT
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 1   Dated: September 10, 2018                      /s/ DANIEL OLSEN
                                                    DANIEL OLSEN
 2                                                  Counsel for Defendant
 3                                                  ROCKY GORDON

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                                        FINDINGS AND ORDER
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          IT IS SO FOUND AND ORDERED this 20th day of September, 2018.
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12                                                          Troy L. Nunley
                                                            United States District Judge
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     STIPULATION REGARDING EXCLUDABLE TIME      3
     PERIODS UNDER SPEEDY TRIAL ACT
